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                                                                                                        ELECTRONICALLY FILED - 2018 Apr 03 9:37 AM - HORRY - COMMON PLEAS - CASE#2018CP2602173
STATE OF SOUTH CAROLINA               )       IN THE COURT OF COMMON PLEAS
                                      )          FIFTEENTH JUDICIAL CIRCUIT
COUNTY OF HORRY                       )       CIVIL ACTION NO.: 2018-CP-26-

Gary T. Tyner,                        )
                                      )
                       Plaintiff,     )
                                      )
       vs.                            )                      SUMMONS
                                      )               (Breach of Contract/Bad Faith)
Washington National Insurance         )                 JURY TRIAL DEMANDED
Company,                              )
                                      )
                       Defendant.     )
                                      )

TO:    ABOVE-NAMED DEFENDANT

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action, of

which a copy is herewith served upon you, and to serve a copy of your answer to the said Complaint

on the subscriber or subscribers at his or their office at Suite 209, The Courtyard, 1500 U.S.

Highway 17 North, Surfside Beach, South Carolina 29587 within thirty (30) days after the service

hereof; exclusive of the day of such service; and if you fail to answer the Complaint within the time

aforesaid; the Defendant in this action will apply to the Court for the relief demanded in the

Complaint and judgment by default will be rendered against you for the relief demanded in the

Complaint.

                                                      s/L. Sidney Connor, IV
                                                      S.C. Bar No.: 1363
                                                      Attorney for the Plaintiff
                                                      KELAHER, CONNELL & CONNOR, P.C.
                                                      Post Office Drawer 14547
                                                      Surfside Beach, SC 29587
                                                      T (843) 238-5648
                                                      sconnor@classactlaw.net
April 3, 2018
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COUNTY OF HORRY                         )       CIVIL ACTION NO.: 2018-CP-26-

Gary T. Tyner,                          )
                                        )
                        Plaintiff,      )
                                        )
         vs.                            )                      COMPLAINT
                                        )               (Breach of Contract/Bad Faith)
Washington National Insurance           )                 JURY TRIAL DEMANDED
Company,                                )
                                        )
                        Defendant.      )
                                        )

         The Plaintiff, complaining of the Defendant herein, would show and allege unto this

Honorable Court as follows:

         1.      The Plaintiff is a citizen and resident of the State of South Carolina, County of

Horry.

         2.      The Defendant Washington National Insurance Company is a corporation

organized and existing pursuant to the laws of one of the states of the United States of America

and does business in Horry County, South Carolina.

         3.      This Court has jurisdiction over the parties and subject matter of this litigation.

         4.      The amount in controversy is less than $75,000.

         5.      In or about 2011, Plaintiff purchased a critical illness policy from the Defendant.

         6.      That policy provides for a benefit of $50,000 in the event that the Plaintiff should

contract cancer.

         7.      Plaintiff paid all premiums as required by the Defendant and has met all

requirements of the insurance policy.

         8.      Plaintiff did in fact contract cancer and has made application under the policy.

         9.      The Defendant has denied Plaintiff’s claim for benefits.
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                                                                                                  ELECTRONICALLY FILED - 2018 Apr 03 9:37 AM - HORRY - COMMON PLEAS - CASE#2018CP2602173
                                      FOR A FIRST CLAIM
                                       (Breach of Contract)

       10.      The allegations of Paragraph Nos. 1 through 8 are incorporated as if fully set

forth herein.

       11.      Plaintiff would show that the Plaintiff and Defendant had an insurance contract

for critical illness which covered the Plaintiff if he contracted cancer.

       12.      Plaintiff would show that he contracted cancer.

       13.      Plaintiff would show that he met all of his obligations and duties under the

contract and nonetheless, the Defendant has denied his claim for benefits.

       14.      Plaintiff would show that the Defendant is in breach of contract for actual

damages of $50,000.

                                    FOR A SECOND CLAIM
                                         (Bad Faith)

       15.      The allegations of Paragraph Nos. 1 through 14 are incorporated as if fully set

forth herein.

       16.      The Plaintiff would show that the Defendant’s denial of his claim under the

cancer policy was in bad faith and request actual damages, punitive damages, plus costs and

attorney’s fees but in no event to exceed $75,000.

       WHEREFORE, having fully pled his complaint, Plaintiff prays for the relief as requested

herein and for such other and further relief as this court may deem just and proper.

                                                       s/L. Sidney Connor, IV
                                                       S.C. Bar No.: 1363
                                                       Attorney for the Plaintiff
                                                       KELAHER, CONNELL & CONNOR, P.C.
                                                       Post Office Drawer 14547
                                                       Surfside Beach, SC 29587
                                                       T (843) 238-5648
                                                       sconnor@classactlaw.net
April 3, 2018
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